    Case 22-10098-tnw        Doc 363-6 Filed 11/10/23 Entered 11/10/23 07:52:59                     Desc
                                  Proposed Order Page 1 of 2



                           UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF KENTUCKY
                                   ASHLAND DIVISION

                                                    )
    In re:                                          )   Chapter 11
                                                    )
    Coal Network, LLC,                              )   Case No. 22-10098-tnw
                                                    )
              Reorganized Debtor.                   )   Hon. Tracey N. Wise
                                                    )

     ORDER SUSTAINING THE REORGANIZED DEBTOR’S OBJECTION TO CLAIM
      OF CEMEX CONSTRUCTION MATERIALS ATLANTIC, LLC [CLAIM NO. 15]

             Upon considering of The Reorganized Debtor’s Objection to Claim of CEMEX

Construction Materials Atlantic, LLC [Claim No. 15] (the “Objection”)1 filed by Coal Network,

LLC (the “Reorganized Debtor”) in the above-captioned Chapter 11 Case, under section 502 of

the Bankruptcy Code and Bankruptcy Rule 3007; and due and proper notice of the Objection

having been given; and no other or further notice being required; and this Court having jurisdiction

to consider the Objection in accordance with 28 U.S.C. §§ 157 and 1334; and this being a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having considered the Objection and

all responses to the Objection, if any; and after due deliberation thereon; and it appearing that the

entry of this Order and granting the relief set forth herein are in the best interests of the Reorganized

Debtor and its bankruptcy estate; and good and sufficient cause appearing therefore, it is hereby

ORDERED that:

             1.    The Objection is SUSTAINED as set forth herein.

             2.    Pursuant to section 502 of the Bankruptcy Code and Bankruptcy Rule 3007, the

Claim is hereby disallowed.



1
        Capitalized terms used herein and not otherwise defined shall have the meanings given to them in the
Objection.


23245279.v1
 Case 22-10098-tnw          Doc 363-6 Filed 11/10/23 Entered 11/10/23 07:52:59               Desc
                                 Proposed Order Page 2 of 2



       3.      The Reorganized Debtor and the clerk of the Bankruptcy Court are hereby

authorized to take all actions necessary or appropriate to give effect to this Order.

       4.      The Court shall retain jurisdiction to interpret, implement and enforce the terms and

provisions of this Order.

       5.      Notwithstanding any Bankruptcy Rule to the contrary, this Order shall take effect

immediately upon signature.


Tendered by:

/s/ April A. Wimberg
April A. Wimberg
Gina M. Young
DENTONS BINGHAM GREENEBAUM LLP
3500 PNC Tower
101 South Fifth Street
Louisville, Kentucky 40202
Phone: (502) 587-3606
Fax: (502) 540-2215
Email: april.wimberg@dentons.com
        gina.young@dentons.com

Counsel to the Reorganized Debtor




                                                  2
